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                   UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF ALABAMA
                        NORTHERN DIVISION


                                      )
BRIANNA BOE, et al.,                  )
                                      )
       Plaintiffs,                    )
                                      )
and                                   )   Case No. 2:22-CV-184-LCB
                                      )
UNITED STATES OF AMERICA,
                                      )
       Plaintiff-Intervenor,          )
                                      )
v.                                    )
                                      )
STEVE MARSHALL, et al.,               )
                                      )
       Defendants.                    )
                                      )


         RESPONSE BY JENNIFER LEVI AND SHANNON MINTER
                   TO ORDERS TO SHOW CAUSE
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                                  INTRODUCTION

      Respondents Jennifer Levi and Shannon Minter submit this response to the

Orders to Show Cause directed to each of them.1 Respectfully, Levi and Minter

made the best decisions they could with the information they had, based on a good

faith and reasonable understanding of the law. At all times, their goal was to

responsibly advise and protect the interests of vulnerable clients, within the bounds

of their professional responsibilities. Minter and Levi deeply regret that their actions

have caused this Court and the Panel to question the integrity of their conduct.

However, as set forth below, because they acted in good faith and did not violate any

rule, law, or established ethical requirements, they respectfully submit that no

sanction is warranted.

      In voluntarily dismissing a lawsuit that challenged Alabama’s Vulnerable

Child Compassion and Protection Act (the “Act”) and filing another suit challenging

the Act on behalf of different clients, Levi and Minter acted in a good-faith belief

that they were complying with the Federal Rules of Civil Procedure, as well as all

applicable local and ethical rules. Levi and Minter sincerely believed Federal Rule

of Civil Procedure 41(a) permitted the dismissal of the Ladinsky case for any reason

whatsoever. Given that three circuit courts have determined the same and no



1
 Levi and Minter filed an Objection to the Supplemental Orders to Show Cause on May 8, 2024
(Doc. 505). This briefing is without prejudice to that objection.
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Eleventh Circuit precedent has held otherwise, that belief was objectively

reasonable. They similarly believed that no law or rule prohibited the filing of a new

case with new Plaintiffs. Nor did any law or rule dictate where a new case could be

filed. Here, too, where no precedent supports an alternative view, their belief was

objectively reasonable.

      At all times throughout these proceedings, Levi and Minter have been candid

and forthcoming. Neither has made any misrepresentation. They have consistently

acknowledged that views about Judge Burke factored into their decision-making.

Other factors were also critical, including their concerns about what they understood

at the time to be an unusual transfer of their first-filed case (Ladinsky) to the judge

presiding over the second-filed case (Walker), without an explanation or the

prompting of a motion; and the negative impact of that transfer on Ladinsky, which

had become a tagalong case to Walker, thereby diminishing Levi and Minter’s ability

to shape the litigation in a way they thought would best serve their clients’ interests.

Taking into account all of these factors, Levi and Minter recommended that their

clients dismiss the case, which they did. In view of all that had happened, including

the unexplained transfer to Judge Burke, Levi and Minter made the decision to file

a new case with new plaintiffs in a different district. At all times, Levi and Minter

believed they were acting zealously and strategically to serve the best interests of

their clients within both the letter and spirit of the law and applicable rules.



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                           FACTUAL BACKGROUND

      A.     Attorneys Jennifer Levi and Shannon Minter.

      Jennifer Levi is the Senior Director of Transgender and Queer Rights at

GLBTQ Legal Advocates & Defenders (GLAD). Ex. 1, Levi Aff., ¶ 6. Levi has

dedicated her career to fighting for the rights of vulnerable clients. Id. ¶¶ 5–6. Other

than this proceeding, she has had a spotless disciplinary record throughout her three-

decade legal career. Id. ¶ 10. She is a former law clerk for the Honorable Judge

Michael Boudin of the United States Court of Appeals for the First Circuit. Id. ¶ 3.

She is a graduate of the University of Chicago Law School. Id. ¶ 2.

      Shannon Minter is the Legal Director of the National Center for Lesbian

Rights (NCLR), a non-profit legal organization representing lesbian, gay, bisexual,

and transgender people. Ex. 2, Minter Aff. ¶ 3. Minter has devoted his legal career

of thirty-plus years to representing LGBT people and their families. Id. ¶¶ 2–3.

Other than this proceeding, he has never faced any disciplinary complaint,

investigation, or proceeding. Id. ¶ 5. Minter has taught law at UCLA School of

Law, Berkeley University, Stanford University, Golden Gate University, and Santa

Clara University, and he is a graduate of Cornell Law School. Id. ¶¶ 1, 4.




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      B.     Work Preceding the Filing of Ladinsky.

      On April 7, 2022, Governor Kay Ivey signed the Act into law. The Act bans

medical treatments for transgender adolescents. S.B. 184, Ala. 2022 Reg. Sess.

§§ 4–5 (Ala. 2022).

      Minter’s organization (NCLR) had been monitoring the Alabama

Legislature’s consideration of this Act since 2019 and preparing a potential legal

challenge to the Act. Minter Decl. ¶ 1, located at In re Vague, 2:22-mc-03977-

WKW (M.D. Ala.), Doc. #80-6, pp. 34–45; Nov. 3, 2022 Hr’g Tr. at 123 (Minter).

Levi joined this effort, which would later become the Ladinsky et al. v. Ivey et al.

litigation team, at least a year before the Act was passed. Levi Decl. ¶ 2, located at

Vague, Doc. #80-6, pp. 4–19.

      Levi testified that her primary role on the Alabama litigation team was to

“frame the legal claims” that the team would bring to challenge the Act. Nov. 4,

2022 Hr’g Tr. at 5; see Levi Decl. ¶ 3. She was brought onto the litigation team

because of her knowledge and experience on legal issues affecting transgender

persons, as well as her knowledge and experience regarding medical care and

treatment for transgender minors. Levi Decl. ¶ 3. Levi had never practiced in

Alabama before the Ladinsky case. Id. Therefore, she was not brought onto the

team to handle procedural aspects of litigating the case, and she was not responsible

for those matters. Id.



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       Levi testified that, when she joined the Ladinsky case team, she “wasn’t aware

of information about the judges” in Alabama. Nov. 4, 2022 Hr’g Tr. at 22. Before

joining the Ladinsky team, she had no knowledge of the judges’ track records or

reputations. Levi Decl. ¶ 3. Levi testified that she “very much trust[ed] those on the

team who had more information than [she] did” about the judges who could be

assigned, Nov. 4, 2022 Hr’g Tr. at 22, and that she deferred to other counsel on the

decision of where to file the Ladinsky suit, Levi Decl. ¶ 6. She testified that the team

was prepared to litigate the case “in front of any judge to which [they] were

assigned.” Nov. 4, 2022 Hr’g Tr. at 20.

       Minter was not very involved in the Ladinsky team until after the Act was

passed. Minter Decl. ¶ 1. He was focused on high-level strategic legal issues and

leadership, not the specifics of Alabama practice and procedure, and did not file an

appearance in any of the lawsuits in question. See id. ¶¶ 1–2. Minter worked on the

Ladinsky complaint and engaged in discussions about legal arguments and claims.

See id. ¶ 1.

       At least a year before the Act passed, Levi and Minter were aware that another

group—which would later become the Walker et al. v. Marshall et al. litigation

team—was also planning a legal challenge to the Act. Levi Decl. ¶ 8; Nov. 3, 2022

Hr’g Tr. at 123–24 (Minter). Levi and Minter believed it was important for their

clients’ interests that theirs be the first-filed case, and Levi testified that, after the



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Act passed, they were “multitasking” to achieve this goal. Nov. 4, 2022 Hr’g Tr. at

44 (Levi); see Nov. 3, 2022 Hr’g Tr. at 124 (Minter). Minter testified that they

wanted their clients’ challenge to be the “lead case” to ensure that their strategy

would “be the one that was heard.” Nov. 3, 2022 Hr’g Tr. at 124. Minter believed

that their team had the best approach, and he “wanted [their team] to have a chance

to shape the case.” Id. at 142–43.

      C.     Filing of the Ladinsky Case.

      On April 8, the day after the Act’s enactment, seventeen attorneys, including

Levi, filed a complaint in Ladinsky et al. v. Ivey et al., in the Northern District. 2:22-

cv-447-LCB (N.D. Ala. 2022), Doc. #1. The complaint alleged that the Act violated

Section 1557 of the Affordable Care Act as well as constitutional guarantees

(including Equal Protection and Due Process). Id. Because the Ladinsky team

wanted to “make sure that [they] were the first filed action,” they “rushed” to file

their complaint. Aug. 4, 2022 Hr’g Tr. at 23 (Eagan). Levi testified that filing the

complaint so quickly was the result of “exceedingly hard” work. Nov. 4, 2022 Hr’g

Tr. at 43. Although the Ladinsky lawyers had hoped to file a motion for preliminary

injunction along with their complaint, they “committed [their] resources to get the

complaint filed” because they could not get the complaint and preliminary injunction

motion “filed at one time and get filed first.” Id. at 44 (Levi).




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          Ladinsky was originally assigned to Judge Manasco. Ladinsky, 2:22-cv-447-

LCB at Doc. #2. After she recused herself on April 11, the case was reassigned to

Magistrate Judge Cornelius. Id. at Doc. #3.

          D.    Filing of the Walker Case.

          That same day, April 11, which was three days after Ladinsky was filed,

another group of attorneys filed Walker et al. v. Marshall et al., 5:22-cv-480-LCB

(M.D. Ala. 2022) in the Middle District of Alabama. See id. at Doc. #1. The Walker

plaintiffs similarly challenged the Act on the grounds that it violated equal protection

and due process rights. Id. at Doc. #1. Some of the claims asserted in Walker,

however, differed from those asserted in Ladinsky. Compare id., with Ladinsky,

2:22-cv-447-LCB at Doc. #1.

          On a civil cover sheet filed with the complaint, the Walker lawyers indicated

that the case was “related” to Corbitt v. Taylor, No. 2:18-cv-91 (M.D. Ala. 2021).

See Walker, 5:22-cv-480-LCB at Doc. #8, ¶ 1. Corbitt was an earlier case before

Judge Thompson that involved a challenge to another transgender-focused law. Id.

at ¶ 3.

          Levi and Minter were not involved in filing the Walker case or decisions with

respect to its filing. See Levi. Decl. ¶ 8; Minter Decl. ¶ 3. Minter knew that the

Walker lawyers had been planning to mark the case as “related” to Corbitt, but he did

not recall having discussed this issue with anyone from the Walker team and had “no



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involvement” in this decision.      Minter Decl. ¶ 3.     Although Levi had “a few

communications” with lawyers associated with the Walker team about this topic in

the time before the Act passed, Levi Decl. ¶ 8, she was “of the very strong view that

there wasn’t a basis” for Walker to be considered related to Corbitt, Nov. 4, 2022

Hr’g Tr. at 13.

      On April 12, the Walker plaintiffs filed a motion to reassign the case to Judge

Thompson in the Middle District, asserting the case was related to Corbitt. Walker,

5:22-cv-480-LCB at Doc. #8. They also filed a motion for a temporary restraining

order and/or preliminary injunction against enforcement of the Act. Id. at Doc. #9.

      On April 13, Chief Judge Marks issued an order to show cause for why the

Walker action “should not be transferred to the Northern District of Alabama, where

the first-filed action”—i.e., Ladinsky—was pending. Id. at Doc. #3. Thereafter,

attorneys from the Walker and Ladinsky teams had a phone call. Aug. 3, 2022 Hr’g

Tr. at 212–13 (Esseks). Levi and Minter were not on that call. Nov. 3, 2022 Hr’g

Tr. at 127 (Minter); Nov. 4, 2022 Hr’g Tr. at 11–12 (Levi); Nov. 3, 2022 Hr’g Tr. at

31 (Orr). Levi had learned earlier that day, consistent with what she later learned

was said on that call, that the Walker team might attempt to have Ladinsky

transferred to the Middle District “as part of their effort to get their case in front of

Judge Thompson.” Levi Decl. ¶ 9. Levi’s view was that the Ladinsky team “should

do nothing with respect to the Walker team’s effort to get their case before Judge



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Thompson.” Id. Likewise, Minter testified that he “had no interest in consenting to

or agreeing to [Walker] seeking to pull [Ladinsky] over with them” to Judge

Thompson. Nov. 3, 2022 Hr’g Tr. at 127–28.

      E.     Assignment of Ladinsky to Judge Axon; Transfer of Walker to the
             Northern District.

      Meanwhile, Ladinsky had been assigned to Magistrate Judge Cornelius, but

there was not unanimous consent to proceed before a magistrate judge. Accordingly,

on April 14, Ladinsky was randomly reassigned to Judge Axon. Levi Decl. ¶ 11;

Ladinsky, Doc. #11. At the time Ladinsky was pending before Judge Axon, Levi

and Minter had no personal view of the assignment of the case to Judge Axon. Levi

Decl. ¶ 12; Minter Decl. ¶ 4.

      At around 9:00 p.m. on April 14, the Walker plaintiffs withdrew their motion

to reassign their case to Judge Thompson and filed a response to Chief Judge Marks’

order stating that they did not oppose the transfer of Walker to the Northern District.

Walker, 5:22-cv-00480-LCB at Doc. #18 at 3.

      The next morning, April 15, a lawyer from the Walker team, Carl Charles,

contacted Levi and indicated that the Walker case had been transferred to the

Northern District and assigned to Judge Burke. Levi Decl. ¶ 13; see also Walker,

5:22-cv-00480-LCB at Doc. #20. Charles asked Levi whether the Ladinsky lawyers

would object to the Walker team’s effort to get the Walker case transferred to Judge

Axon so it could be consolidated with Ladinsky. Nov. 4, 2022 Tr. at 15–16 (Levi);


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Aug. 3, 2022 Hr’g Tr. at 153 (Charles). Levi told Charles that she did not think the

Ladinsky team would object, Levi Decl. ¶ 14; she believed that consolidation would

mean Ladinsky would still be considered the lead case, see Nov. 4, 2022 Hr’g Tr. at

19. At the time, Levi assumed the Walker team would need to file a motion before

their assigned judge to obtain this relief. Levi Decl. ¶ 14. She was later told by

Walker attorneys that the motion would need to be filed in Ladinsky rather than in

Walker. Nov. 4, 2022 Hr’g Tr. at 15–16. Levi herself could not prepare a motion to

transfer; she had to step away from work at approximately 3:15 p.m. CST to attend

her child’s high school sporting match before preparing to observe Passover. Id.;

Levi Decl. ¶¶ 17–18. The Walker lawyers said they would prepare the motion. Nov.

4, 2022 Hr’g Tr. at 16 (Levi).

      The same afternoon, after the Walker lawyers had drafted the motion to

consolidate, another member of the Ladinsky counsel team, Melody Eagan of the

Lightfoot firm, called the attorneys for the State. Aug. 4, 2022 Hr’g Tr. at 68–69

(Eagan). She learned that the State was drafting and preparing to file, in Ladinsky,

its own motion to consolidate the two cases. Id. at 69. Eagan agreed that the State

could file its motion and state that both Ladinsky and Walker counsel consented to

consolidation. Id. at 70–71.




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      F.     Walker Status Conference and Ladinsky Transfer to Judge Burke.

      At 4:07 p.m. on April 15, before the State could file its motion to consolidate

the two cases, Judge Burke set a status conference in Walker for the following

Monday, April 18. Walker, 5:22-cv-480-LCB at Doc. # 22.

      At 4:41 p.m., Judge Axon sua sponte transferred the Ladinsky case to Judge

Burke with no explanation in the transfer order beyond stating that the transfer was

“[i]n the interest of efficiency and judicial economy.” Ladinsky, 5:22-cv-447-LCB

at Doc. #14. Within ten minutes of the transfer, Eagan received an email from

attorneys for the State saying that they no longer intended to file a motion to

consolidate Ladinsky and Walker. Aug. 4, 2022 Hr’g Tr. at 74 (Eagan). These events

transpired during the time Levi had stepped away from work for family reasons.

      While Levi and Minter now understand that Judge Axon transferred Ladinsky

to this Court because she was presiding over a criminal trial, they were not aware of

this fact on April 15. See Nov. 3, 2022 Hr’g Tr. at 137–38 (Minter); Nov. 4, 2022

Hr’g Tr. at 14–15 (Levi). At the time, the transfer from Judge Axon to this Court

was surprising because it contravened their understanding that a second-filed case

travels with a first-filed case and not the other way around. Nov. 3, 2022 Hr’g Tr.

at 132–33 (Minter); Nov. 4, 2022 Hr’g Tr. at 17 (Levi).

      In addition, Walker had a status conference scheduled for the next business

day, but Ladinsky did not, even though it was the first-filed case. Levi Decl. ¶ 19.



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Minter and Levi did not believe it would be possible for matters relating to Ladinsky

to be heard at the Walker status conference because the two cases had not yet been

consolidated and because Ladinsky did not yet even have a motion for preliminary

injunction finalized for filing. Minter testified that he “was not sanguine” about any

prospect of being able to appear at the Walker hearing and “didn’t know if [they]

would even be able to be heard.” Nov. 3, 2022 Hr’g Tr. at 147. Levi testified that

she believed that the Ladinsky team had “no opportunity to appear” at the Walker

status conference. Nov. 4, 2022 Hr’g Tr. at 38–39.

       Minter testified that although he did not believe Judge Burke had done

anything improper in setting a status conference (because Walker had a TRO motion

on file), Nov. 3, 2022 Hr’g Tr. at 147, that status and the unexplained transfer of

Ladinsky caused Minter a great deal of concern for his clients. He testified that

because Walker was moving forward so quickly even though it was the second-filed

case, he felt like the “rug got pulled out” from under the clients in the Ladinsky case,

and he was concerned that the Ladinsky team would “be left behind” in challenging

the Act. Id. at 147. He was particularly worried that the Ladinsky lawyers would

lose their ability to set the strategy for the litigation. Minter Decl. ¶ 5.

       G.     Dismissal of Ladinsky and Walker.

       Given the unexpected turn of events and its potential negative impact on the

Ladinsky clients, Minter thought about the option to file a voluntary dismissal under



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Rule 41. Nov. 3, 2022 Hr’g Tr. at 139–40; see Minter Decl. ¶ 6. He testified that it

was possible—although he does not remember specifically—that he raised this option

on a call with his NCLR colleague Asaf Orr after Judge Axon’s transfer order. Nov.

3, 2022 Hr’g Tr. at 139–40. Minter also participated in a Ladinsky team call, during

which the lawyers discussed voluntarily dismissing the case. Minter Decl. ¶ 12.

      After the Ladinsky team call, Minter reached out to Kathleen Hartnett

(Cooley/Walker) to see if the Walker team was also considering whether to

voluntarily dismiss their case. Id.; Nov. 3, 2022 Hr’g Tr. at 153–54 (Minter).

Hartnett told Minter that the Walker lawyers were “thinking along the same lines.”

Nov. 3, 2022 Hr’g Tr. at 154 (Minter).

       At about 5:00 p.m. on April 15, there was a conference call between members

of the Ladinsky and Walker teams, including Minter but not Levi (who was still

offline because her child had suffered a serious knee injury during the sporting match

she had left work to watch). Minter Decl. ¶ 12; Nov. 4, 2022 Hr’g Tr. at 16, 18

(Levi). The lawyers on the call discussed the possibility of voluntarily dismissing

both cases. Minter Decl. ¶ 12. Ultimately, both teams indicated that—pending

further consultation and discussion with their respective clients—they would file

voluntary dismissals. Id.

      When Levi logged on again to work, she learned about the Walker status

conference and Ladinsky’s transfer to Judge Burke. She testified that she was “very



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concerned” because “within a very short period of time, everything had very

significantly changed and none of it made sense to [her] in terms of the process by

which that happened.” Nov. 4, 2022 Hr’g Tr. at 17. Because Walker already had a

motion for emergency relief on file and had an upcoming status conference, Levi

worried that Ladinsky was “suddenly becoming a tagalong case.” Id. at 19. She

testified that “all of the work that [they] had done to try to become the first filed case

was potentially being undermined.” Id. Thus, although the Ladinsky team had

already decided to recommend dismissal of the case to their clients by the time Levi

was able to join calls on the evening of April 15, she agreed with the decision. Id.

      During discussions on April 15, Levi and Minter were part of Ladinsky team

communications in which other lawyers stated that Judge Burke “wasn’t considered

a good draw for the case” and expressed concern about the prospects of their case.

Id. at 17–18; see Levi Decl. ¶ 19; Minter Decl. ¶ 6. Levi and Minter did not have

any independent knowledge or opinions about Judge Burke but had no reason to

disagree with their colleagues’ views. Levi Decl. ¶ 19; see Minter Decl. ¶¶ 5–6.

      Although time was of the essence in challenging the Act, Levi believed that

there would be “nearly no difference” in timing if they dismissed Ladinsky and filed

a new case promptly thereafter. Nov. 4, 2022 Hr’g Tr. at 29. Similarly, Minter

testified that he was “willing to forego” a day or so in order to “be[ ] able to present

the case in what [he] thought would be the best way.” Nov. 3, 2022 Hr’g Tr. at 153.



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Levi testified that this assessment was made “with the parties’ interests in mind” and

that the clients authorized the dismissal. Nov. 4, 2022 Hr’g Tr. at 69.

      The Ladinsky and Walker teams had further communications on April 15 to

work out the logistics and timing of filing the motions to dismiss. Minter Decl. ¶ 12.

From the Ladinsky team’s perspective, it did not “make sense for [them] to dismiss

unless the Walker case also dismissed their case.” Nov. 4, 2022 Hr’g Tr. at 31 (Levi).

Both teams understood that Walker would dismiss before Ladinsky; Minter testified

that, to the Ladinsky team, this sequence eliminated the risk that Ladinsky would

dismiss and Walker would continue forward as the only case. Nov. 3, 2022 Hr’g Tr.

at 154–55; see also Aug. 4, 2022 Hr’g Tr. at 94 (Eagan).

      Accordingly, at 6:24 p.m. on April 15, the Walker team dismissed their case.

Walker, Doc. # 23. Then, the Ladinsky team filed a notice of voluntary dismissal at

6:33 p.m. Ladinsky, Doc. # 15.

      Both Levi and Minter testified that, if Ladinsky originally had been assigned

to Judge Burke, and not transferred to this Court in the way that the transfer occurred,

neither would have recommended or supported dismissing Ladinsky. Levi Decl.

¶ 19; Minter Decl. ¶ 7. Levi testified that she was “prepared to litigate the case in

front of any judge” to which Ladinsky was assigned. Nov. 4, 2022 Hr’g Tr. at 20–

21. Levi also testified that, if the identity of the judges had been reversed but all else

remained the same—i.e., if Ladinsky were the first-filed case and originally assigned



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to Judge Burke but transferred to Judge Axon, presiding over the second-filed case—

she still would have recommended dismissing the case due to “the same questions

about the procedure” and her “concern about how [their] first-filed case had been

undermined and overtaken.” Id. at 59–60. In the same vein, Minter swore in his

declaration that if the filing order of the cases had been reversed but all else remained

the same—i.e., Ladinsky had been the second-filed case and Walker had been the

first-filed, and Ladinsky had been transferred from Judge Axon to this Court

consistent with the first-filed rule—he would not have recommended or supported

dismissal. Minter Decl. ¶ 7.

      H.     Discussion Around Potentially Combining the Walker and
             Ladinsky Teams.

      During the evening of April 15, Levi spoke to Hartnett about joining the

Walker and Ladinsky teams together to file a new case. Levi Decl. ¶ 23. Levi left

that conversation with the understanding that the “Walker team would dismiss their

case and join forces with the lawyers from the Ladinsky case,” id., though there were

“going to be some issues and questions” regarding the path forward in this “joint

effort,” Nov. 4, 2022 Hr’g Tr. at 34–35.

      The next morning, April 16, the lawyers from the nonprofit organizations on

both case teams (including Levi and Minter) had a call to discuss next steps in

working together. It quickly became apparent that the teams were not on the same

page despite the understanding they had the previous night about the teams joining


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forces; in particular, they did not have a shared view of how decisions would be

made, where a case would be filed, or who the plaintiffs would be. Id.; see Levi

Decl. ¶ 25; Nov. 3, 2022 Hr’g Tr. at 165–66 (Minter). The call ended “with no final

agreements made.” Levi Decl. ¶ 25. Ultimately, the two groups did not work

together. Id. ¶ 28; Minter Decl. ¶ 8. Instead, later in the afternoon on April 16,

organizations comprising the Walker team, including the ACLU and Lambda Legal,

determined that they would not go forward with new litigation. Aug. 3, 2022 Hr’g

Tr. at 231 (Esseks). The next morning, April 17, James Esseks (ACLU/Walker)

informed the Ladinsky team of the Walker lawyers’ decision to not file a new case.

Id. at 232–33 (Esseks); Minter Decl. ¶ 8.

      I.     Filing of Eknes-Tucker.

      After the April 16 call with Walker counsel, both Levi and Minter further

considered the parameters of a new case challenging the Act. Levi researched Rule

41, and Minter consulted with civil procedure experts. Nov. 4, 2022 Hr’g Tr. at 35

(Levi); Nov. 3, 2022 Hr’g Tr. at 163 (Minter). Based on her research, Levi believed

that the plaintiffs had an “automatic right under 41(a) to dismiss the case and that

[they] could file a new case or the same case in any district.” Nov. 4, 2022 Hr’g Tr.

at 54. She also understood that there “would be a lot of attention to this case,” so

she “thought in an abundance of caution,” the team should bring a new case with all

new plaintiffs, which is what they did. Id.



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      Likewise, while Minter thought Rule 41 allowed them to file a new case with

the same plaintiffs, he wanted to be “careful” to avoid the “appearance of judge

shopping.” Nov. 3, 2022 Hr’g Tr. at 164. Minter’s desire to avoid the appearance

of judge shopping was not because he believed they were, in fact, judge shopping—

he wanted to avoid “any possible problem.” Id. (emphasis added).

      Minter and others on the team already were aware of an additional family who

wished to join a lawsuit and challenge the Act, and they knew generally that there

were other families and medical providers in Alabama who were very concerned

about the law and who would want to be plaintiffs. Minter Decl. ¶ 8. Two of the

new plaintiffs in what became Eknes-Tucker were a family that the team had not

been able to add in time to the Ladinsky case and a pastor who provided counseling

to transgender families. Aug. 4, 2022 Hr’g Tr. at 24, 111, 146 (Eagan). The addition

of the pastor allowed the team to bring a First Amendment challenge to the Act. Id.

at 111. Eknes-Tucker was a new case, not a copy of Ladinsky: it was brought on

behalf of different plaintiffs and included some different claims. Compare Ladinsky,

5:22-cv-00447-LCB at Doc. #1, with Eknes-Tucker et al. v. Ivey et al., 2:22-cv-

00184-LCB-CWB (M.D. Ala.) at Doc. #1.

      Levi and Minter were also involved in conversations on April 16 and April 17

about where the new case should be filed. Levi Decl. ¶ 27; see Minter Decl. ¶ 9.

Levi expressed her view that the case should not be filed in the Northern District



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because, at the time, she believed a procedural irregularity had just occurred in the

district, and she wanted to avoid the risk that “those procedural complications would

potentially arise again” in the new case, including the risk that the case would be

reassigned to Judge Burke. Nov. 4, 2022 Hr’g Tr. at 55; Levi Decl. ¶ 27. Minter

held a similar view. Minter Decl. ¶ 9.

         At the same time, Levi and Minter were both aware that, regardless of where

the case was filed, it could be transferred to this Court. Levi Decl. ¶ 27; Nov. 3,

2022 Hr’g Tr. at 172–73. They were “prepared for [Eknes-Tucker] to be assigned to

any judge and to litigate the case in front of any judge to which [they] were

assigned,” including Judge Burke. Nov. 4, 2022 Hr’g Tr. at 54; see Minter Decl.

¶ 9.

         On April 19, the Ladinsky team of lawyers filed Eknes-Tucker in the Middle

District. Levi Decl. ¶ 28. Eknes-Tucker was then transferred to Judge Burke. Id.

The team proceeded to litigate in this Court. Id.; Minter Decl. ¶ 9.

         J.    The Orders to Show Cause.

         On April 18, this Court wrote in an order dismissing the Walker case that

“Plaintiffs’ course of conduct could give the appearance of judge shopping.”

Walker, 22-cv-00480-LCB at Doc. #24 at 3. This Order was not filed in Ladinsky

or served on the lawyers appearing in that matter, and Levi and Minter did not learn




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of it until after the filing of Eknes-Tucker. See generally Ladinsky Dkt.; Aug. 3,

2022 Hr’g Tr. at 134 (Eagan).

      On May 10, a three-judge panel consisting of Judge Watkins, Judge Proctor,

and Judge Beaverstock (the “Panel”) ordered each counsel from Ladinsky and Walker

to appear at hearings so the Panel could inquire into “the issues raised by counsels’

actions.” In re Vague, 2:22-mc-03977-WKW (M.D. Ala.) at Doc. #1. The order did

not elaborate further on what conduct the Panel would be evaluating. Thereafter, at

its first hearing on May 20, 2022, the Panel issued an oral order barring the attorneys

from discussing their testimony with anyone other than their counsel. May 20, 2022

Hr’g Tr. at 74, 93–94, and 202.

      On July 8, 2022, the Panel directed the respondents to submit sworn

declarations regarding their actions taken in connection with Ladinsky, Walker, and

Eknes-Tucker. Vague, 2:22-mc-03977-WKW at Doc. #22. The July 8 order also

barred each respondent from discussing their declarations, or any matters related to

the May 20 hearing or July 8 order, with anyone other than the attorneys representing

them. Id. at 3-4.

      Levi submitted her declaration on July 27, 2022. See Vague, Doc. #80-6 at

pp. 4–19. Although Minter never filed an appearance in Ladinsky or Eknes-Tucker,

he voluntarily participated in these proceedings and submitted a declaration also on

July 27, 2022. See id. at pp. 34–45. Levi and Minter both testified at hearings in



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November 2022 regarding their involvement in the decisions to dismiss Ladinsky

and to file Eknes-Tucker. Nov. 3, 2022 Hr’g Tr. 121–77 (Minter); Nov. 4, 2022 Hr’g

Tr. 4–72 (Levi).

      On October 3, 2023, the Panel released a Final Report of Inquiry (the “Panel

Report”) in which it stated, inter alia, that Levi and Minter, along with others,

“purposefully attempted to circumvent the random case assignment procedures of

the United States District Courts for the Northern District of Alabama and the

Middle District of Alabama.” Vague, 2:22-mc-03977-WKW at Doc. #70, at 51. The

Panel further stated that “counsel intentionally attempted to direct their cases to a

judge they considered favorable and, in particular, to avoid Judge Burke.” Id. at 52.

      On February 21, 2024, this Court issued an Order to Show Cause in this

proceeding (the “Order”). Eknes-Tucker, 2:22-cv-00184-LCB-CWB at Doc. # 406.

On May 1, 2024, the Court issued Supplemental Orders to Show Cause for Levi and

Minter (the “Individual Orders”).     Eknes-Tucker, 2:22-cv-00184-LCB-CWB at

Docs. #485 (“Minter Order”) and # 488 (“Levi Order”). The Individual Orders direct

Levi and Minter to show cause why they should not be sanctioned for “attempting

to manipulate the [Court’s] random case assignment procedures” and

“misrepresenting or otherwise failing to disclose key facts during the Panel’s

inquiry.” Minter Order at pp. 10–11; Levi Order at pp. 10–11. The Individual

Orders also require Levi and Minter to account for “any findings in Section IV of



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the Panel’s Report” implicating either their credibility or discrepancies between their

testimony and anyone else’s. Minter Order at pp. 10–11; Levi Order at pp. 10–11.

Levi and Minter have objected to the Individual Orders on due process grounds.

Eknes-Tucker, 2:22-cv-00184-LCB-CWB at Doc. #505.

                                   ARGUMENT

I.     Standard of Review.

       A.    Inherent-Authority Sanctions Require Clear and Convincing
             Evidence of Subjective Bad Faith.

       A court may not impose sanctions under its inherent authority without finding,

based on clear and convincing evidence, that a party acted in subjective bad faith.

Purchasing Power, LLC v. Bluestem Brands, Inc., 851 F.3d 1218, 1223 (11th Cir.

2017); JTR Enters., LLC v. Columbian Emeralds, 697 F. App’x 976, 987 (11th Cir.

2017). Subjective bad faith is “not simply bad judgment or negligence”; rather, “it

contemplates a state of mind affirmatively operating with furtive design or ill will.”

Fletcher v. Ben Crump Law, PLLC, No. 5:21-CV-01433-LCB, 2023 WL 3095571,

at *5 (N.D. Ala. Apr. 26, 2023) (Burke, J.) (quoting United States v. Gilbert, 198

F.3d 1293, 1299 (11th Cir. 1999)). This standard is not satisfied by “recklessness

alone.” Purchasing Power, 851 F.3d at 1223. Where there is no “direct evidence of

subjective bad faith,” the bad-faith standard can be met only “if an attorney’s

conduct is so egregious that it could only [have] be[en] committed in bad faith.” Id.

at 1224–25 (emphasis added); accord Hyde v. Irish, 962 F.3d 1306, 1310 (11th Cir.


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2020). A court must make “specific findings as to the party’s conduct that warrants

sanctions,” including on the specific issue of subjective bad faith. Byrne v. Nezhat,

261 F.3d 1075, 1123 (11th Cir. 2001) (citations and quotation marks omitted).

       B.     The Legal Standard Governing Inherent-Authority Sanctions
              Applies to the Rules and Authorities Cited by the Court.

       The Individual Orders cite the Eleventh Circuit’s decision in In re BellSouth

Corporation, the Rules of Professional Conduct, local rules of practice, and Federal

Rule of Civil Procedure 11(b) as potentially implicated by the respondent attorneys’

conduct. Minter Order at 5–10; Levi Order at 5–10. All these cited authorities either

directly implicate the Court’s inherent authority or impose standards akin to those

governing use of the inherent power.2

       BellSouth. The Eleventh Circuit’s decision applies the standards for inherent-

power sanctions to an assertion of judge-shopping. In re BellSouth Corp., 334 F.3d

941, 959–60, 963 n.19 (11th Cir. 2003).

       Rules of Professional Conduct. The Rules of Professional Conduct do not

themselves provide an independent authority for this Court to enter sanctions; rather,

whether a court can sanction an attorney for violating such a rule involves an

exercise of the court’s inherent power. E.g., Thomas v. Tenneco Packaging Co.,




2
 The Court also cited the Oaths of Admission to the Northern District of Alabama and the Middle
District of Alabama. Levi and Minter have sought to act consistent with the principles in these
Oaths.

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Inc., 293 F.3d 1306, 1320–28 (11th Cir. 2002); In re Finkelstein, 901 F.2d 1560,

1564 (11th Cir. 1990).

       Local Rules. Similarly, the local rules of this Court and the Middle District

do not give the Court any power to impose sanctions that is separate and independent

from the inherent power. See, e.g., Thomas, 293 F.3d at 1322–23. This is because

the local rules themselves are “promulgated pursuant to [the court’s] inherent

authority.” Stanford v. Burlington Motor Carriers, 74 F. Supp. 2d 1155, 1156 (M.D.

Ala. 1999).

       Rule 11. Court-initiated Rule 11 sanctions—the kind potentially implicated

here3—require findings akin to those required for the use of the inherent power.

Court-initiated Rule 11 sanctions do not contain the “safe harbor” that applies to

party-initiated Rule 11 sanctions.          As a “compensating protection[],” a court

considering such sanctions must issue an order to show cause and then evaluate

counsel’s conduct under “a higher standard (‘akin to contempt’)” than the standard

governing party-initiated sanctions. Kaplan v. DaimlerChrysler, A.G., 331 F.3d

1251, 1255 (11th Cir. 2003) (citation omitted). Subjective bad faith is required, In

re Pennie & Edmonds LLP, 323 F.3d 86, 87 (2d Cir. 2003), and the standard of proof

is clear and convincing evidence, Fletcher, 2023 WL 3095571, at *4.



3
  As noted above, Minter did not appear in this case and thus did not sign any pleading presented
in Ladinsky or Eknes-Tucker.

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        C.    To the Extent the Panel Reached Any Legal Conclusions, the
              Court Should Not Give Those Conclusions Any Deference.

        Levi and Minter do not interpret the Panel Report to contain any legal

conclusions. For example, although the Panel stated that various attorneys’ actions

constituted “misconduct,” Panel Report at 51, Levi and Minter do not believe the

Panel intended to (or did) make a legal determination that any of the attorneys

engaged in sanctionable misconduct, and the Panel Report does not recite any of the

standards that apply when making such a legal determination.

        If the Court disagrees, however, it should review any conclusions of the Panel

de novo, particularly given that the attorneys did not have the opportunity to brief

any legal issues to the Panel.      See Vague, 2:22-mc-03977-LCB at Doc. #99

(affirming the Court’s authority to “accept[], reject, or modify[]” the Panel’s

findings). Cf. Fed. R. Civ. P. 72(b)(3) (“accept, reject, or modify” language used to

describe de novo review standard for in rule for evaluating magistrate judge’s

determinations on dispositive issues). De novo review requires the Court to “make

a judgment independent of” the Panel’s, “without deference to [the Panel’s] analysis

and conclusions.” In re Piper Aircraft Corp., 244 F.3d 1289, 1295 (11th Cir. 2001).

II.     Levi and Minter’s Conduct in Dismissing One Case and Filing a New
        Case Is Not Sanctionable, and They Were Candid and Truthful in This
        Proceeding.

        The Individual Orders identify six categories of alleged misconduct under the

heading “judge-shopping.” The first four relate to the dismissal of the Ladinsky case,


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and the final two relate to the filing of Eknes-Tucker. Levi Order at 10–11; Minter

Order at 10–11.

      Sanctions are not appropriate here because neither Levi nor Minter acted with

any subjective bad faith with respect to any of these categories of alleged

misconduct, and they testified truthfully in response to the Panel’s inquiry in all these

areas. That testimony shows that Levi and Minter subjectively believed, in good

faith, both that the Federal Rules permitted them to dismiss Ladinsky and to file a

new case with different plaintiffs and that these decisions were in their clients’ best

interests. See Part II.A, below.

      Where, as here, there is no “direct evidence of subjective bad faith,” a court

cannot find bad faith unless “an attorney’s conduct is so egregious that it could only

[have] be[en] committed in bad faith.” Purchasing Power, 851 F.3d at 1224–25

(emphasis added). That standard is not satisfied. See Part II.B, below. The record

establishes that Levi and Minter made a strategic decision to dismiss and file a new

case based on concerns about the transfer of Ladinsky, the resulting judicial

assignment, and losing the key decision-making role they expected to have as the

leading case. Rule 41, on its face, authorizes plaintiffs to dismiss and refile for any

reason. Decisions from three U.S. Courts of Appeals establish that a plaintiff may

dismiss and refile a complaint one time—even when the motive for doing so is to

obtain a different judge—and there is no contrary Eleventh Circuit precedent. In



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view of those authorities, it was not “egregious,” see Purchasing Power, 851 F.3d at

1224–25, for Levi and Minter to conclude that they were permitted to dismiss and

file a new case, even if motivated in part by a desire to seek a more favorable forum.

      A.     Levi and Minter’s Testimony Establishes That They Acted in
             Subjective Good Faith and Were Candid and Truthful with the
             Panel.

      Levi and Minter acknowledge that a concern over whether Judge Burke was

a good judge for the case was a factor in their decisions to dismiss Ladinsky and file

a new case in the Middle District. However, that was not the sole factor. Both Levi

and Minter made clear in their declarations and testimony that they had additional

reasons for their actions, including their concern about what was—from their

perspective—the unusual transfer of the case and the resulting loss of Ladinsky’s

first-filed status. They also testified that they filed Eknes-Tucker in the Middle

District to avoid what they viewed as a procedural irregularity in the Northern

District that had caused the transfer of Ladinsky to Judge Burke.

      Both in making the recommendation to dismiss Ladinsky and to file Eknes-

Tucker in the Middle District, Levi and Minter acted in good faith—that is, they

believed their actions were permissible. Levi and Minter understood that Federal

Rule of Civil Procedure 41 permits a one-time voluntary dismissal of a case, before

an answer is filed, for any reason, without penalty. As Levi testified, she “believed

firmly” that they had an “automatic right under [R]ule 41(a) to dismiss the case and



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that [they] could file a new case or the same case in any district.” Nov. 4, 2022 Hr’g

Tr. at 35, 54; Levi Decl. ¶ 26. She believed that nothing “would prohibit at all the

filing of a new case.” Nov. 4, 2022 Hr’g Tr. at 35. Minter “consult[ed] with civil

procedure experts” and performed some research, Nov. 3, 2022 Hr’g Tr. at 163,

concluding there was no bar on dismissing and then filing a new case, id. Moreover,

the Ladinsky team believed they were permitted—in fact, ethically required—to file

suit in the forum they believed to be in their clients’ best interests. At the time, they

“still didn’t understand what had happened” in the Northern District and were

concerned “[o]n behalf of [their] clients” about a procedural irregularity; so, they

believed it was in their clients’ best interests to file in the Middle District. Nov. 4,

2022 Hr’g Tr. at 36, 71 (Levi). There is no evidence that Levi or Minter acted in

bad faith.

             1.     Levi and Minter Had Legitimate, Reasonable Concerns
                    About the Unexplained Transfer to Judge Burke.

      As Levi and Minter both explained, they saw the transfer of Ladinsky to Judge

Burke as a departure from the usual practice of a second-filed case being transferred

to the judge presiding over a first-filed case. Nov. 3, 2022 Hr’g Tr. at 132–33

(Minter); Nov. 4, 2022 Hr’g Tr. at 17 (Levi). The Panel Report quotes Levi’s and

Minter’s testimony on this issue, without casting doubt on its veracity. Panel Report

at 45 (quoting Levi’s testimony regarding “the concerns that our team had about the

unusual transfer of the Ladinsky case to the judge presiding over the second-filed


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case”) and 48 (quoting Minter’s testimony that “we weren’t sure what the heck had

just happened”).4

       Instead, the Panel stated that, in its view, there was no objective reason for

Levi and Minter to have been concerned about the transfer. The Panel stated as

follows:

               As the Panel explained at the August 4 hearing, the first
               filed rule comes into play when there are multiple filings
               in different districts and the cases have significant overlap.
               In such a circumstance, the district court assigned to the
               later-filed case can exercise its discretion to transfer that
               case to the forum (i.e., the district) of the first-filed case.
               So, the first filed rule deals with inter-district transfers.
               Obviously, here, Walker was transferred by Chief Judge
               Marks from the Middle District to the Northern District.

               What counsel claim they were concerned with here is
               perhaps more accurately described as the procedure that
               comes into play when two cases are filed in the same
               district and there is a question about whether they should
               be consolidated or otherwise transferred so that the same
               judge presides over them. This procedure is not so much a
               rule as a practice. The practice of the Northern District is
               that if there is a motion to consolidate or reassign a
               subsequently filed case to a judge presiding over an earlier
               filed and related case, the motion is decided by the judge
               presiding over the earlier filed case. Of course, that is



4
 Levi and Minter had good reason to believe that the Northen District had departed from its general
practice in transferring Ladinsky to this Court. The standard practice in the Northern District when
consolidating cases is “to do so before the judge who has the earliest filed case.” Morgan v. Apple,
Inc., Case No. 6:21-CV-00973-RDP, ECF 16 (N.D. Ala. Sept. 17, 2021). “As a matter of settled
practice, when parties ask to consolidate related cases in this district, the cases typically are
consolidated by and before the judge presiding over the first-filed case.” Moore v. MidFirst Bank,
No. 5:18-mc-01414-MHH, 2019 WL 539041, at *2 (N.D. Ala. Feb. 11, 2019).

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               exactly what occurred here, although there was not
               technically a motion filed.

Panel Report at 48–49. Levi and Minter accept the Panel’s articulation of local

practice. However, and crucially, the Panel made no determination that Levi and

Minter were subjectively aware of this local practice at the time. As the Panel itself

expressly acknowledged, that unwritten practice differs from the practice for inter-

district transfers and ordinarily occurs only “if there is a motion,” whereas “there

was not technically a motion filed” here. Id. at 49. Based on the Panel’s explanation,

Levi and Minter’s confusion regarding the transfer was understandable, and Levi

and Minter’s subjective concerns at the time regarding the transfer make sense.

       Scott McCoy’s testimony that he might not have supported dismissal if the

identity of Judge Axon and Judge Burke had been reversed does not suggest

otherwise. Panel Report at 49. The Panel apparently viewed this testimony as

casting doubt on the Ladinsky lawyers’ assertions that they were genuinely troubled

by what they perceived to be procedural irregularities, id., but the evidence does not

support that inference. As an initial matter, McCoy was responding to a hypothetical

situation, not testifying about his actual reaction to the actual events in question,

much less about the motivations or actions of other lawyers.5 Moreover, when Levi


5
  McCoy later clarified that he is not sure what he would have done under this hypothetical
situation. Nov. 3, 2022 Hr’g Tr. at 214 (“I mean, I don’t want to be flippant. It’s -- the
circumstances are different. It’s hard to know in the moment what would have been going on . . . .
I honestly don’t know. And, one, it’s not up to me. And I don’t know what my decision on that
would be.”).

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was asked the same question the Panel asked McCoy—whether she would have

supported dismissal had Ladinsky been transferred from Judge Burke to Judge

Axon—she testified that she “think[s] [she] would have,” as she still “would have

had the same questions about procedure” and Ladinsky still “would have become the

same tagalong case without an opportunity to appear on Monday.” Nov. 4, 2022

Hr’g Tr. at 59. Thus, the procedural irregularity was a very substantial concern in

Levi’s mind, regardless of the presiding judge. Minter’s testimony was similar.

Minter Decl. ¶ 7.

             2.     Levi and Minter Formed a Reasonable, Good-Faith
                    Judgment That Dismissal Would Serve Their Clients’
                    Interests.

      Levi and Minter also testified that they were deeply concerned that, as a result

of the transfer, Ladinsky suddenly had been reduced to a tagalong case to Walker.

Levi Decl. ¶ 19; Minter Decl. ¶ 5; Nov. 4, 2022 Hr’g Tr. at 19 (Levi). They feared

that, as a result, they would not be able to direct the strategy of the litigation, Minter

Decl. ¶ 5, contrary to what they had worked so hard to achieve for their clients in

filing Ladinsky as soon as possible after passage of the law, Nov. 4, 2022 Hr’g Tr.

at 19 (Levi). They believed that dismissing Ladinsky and coordinating with the other

group of lawyers on a new case would ensure they could play a lead role in litigating

the case—something they firmly believed was in the best interests of their clients.

See Nov. 4, 2022 Hr’g Tr. at 69–71 (Levi); Factual Background, Part G.



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       Levi and Minter respectfully disagree with the Panel’s assertion that

dismissing Ladinsky was inconsistent with the Ladinsky lawyers’ stated urgency

about the need to challenge the Act. Panel Report at 38–39. As Levi and Minter

(and others) testified, they believed that dismissing Ladinsky and filing a new case

would not cause any material delay in obtaining relief, especially since they had not

yet finalized or filed a motion for any emergency relief in Ladinsky. See Nov. 3,

2022 Hr’g Tr. at 153 (Minter); Nov. 4, 2022 Hr’g Tr. at 29 (Levi); Aug. 3, 2022 Hr’g

Tr. at 102–03 (Eagan).6 Subsequent events corroborated the reasonableness of their

belief. The lawyers dismissed Ladinsky on Friday, April 15, 2022; filed a new case

on Tuesday, April 19, 2022; filed a motion for injunctive relief on Thursday, April

21, 2022 (still over two weeks before the Act was to become effective); and obtained

a preliminary injunction in the new case on Friday, May 13, 2022, five days after the

Act went into effect.

               3.     Levi and Minter Acted Reasonably Under the
                      Circumstances.

       Nor does anything about “the degree, speed, and substance” of Ladinsky

counsel’s reaction to the transfer undercut their testimony that they were responding

to multiple factors. See Panel Report at 42.7 The Panel Report’s suggestion otherwise

6
  Moreover, the stated effective date of the Act was still three weeks away at the time. See Ala.
Code § 26-26-1 (“eff. 5/8/2022”).
7
  Among other things, the Report notes Asaf Orr’s testimony regarding a telephone call with Minter
during which concerns about the assignment of Ladinsky to Judge Burke were discussed. Panel



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ignores the full context of what happened on April 15. In a very compressed time

frame, the Walker case was transferred from the Middle District to the Northern

District and assigned to Judge Burke; subsequently, Ladinsky counsel, Walker

counsel, and counsel for the State of Alabama were engaged in discussions about

who would draft and file a motion to consolidate Walker with Ladinsky before Judge

Axon; Walker got set for a status conference on Monday morning; Ladinsky was

transferred to Judge Burke; and the Ladinsky attorneys learned that the State of

Alabama no longer planned to file a motion to consolidate the two cases. All of these

events happened in the space of a few hours on Good Friday and before a holiday

weekend, when many counsel would be unavailable. Under these circumstances, the

Ladinsky attorneys had to move quickly to protect their clients’ interests. Levi and

Minter made the best decision they could to preserve their clients’ legal options,

relying on the information they had in a dynamic and quickly changing situation.

       Relatedly, the Panel Report also asserts that the lawyers could have attended

the April 18 status conference set in Walker and advocated as to how the two cases

should be handled. See Panel Report at 52 n.10. Under the circumstances, however,


Report at 42. Viewed in its entirety, Orr’s description of the call corroborates Minter’s testimony
that a variety of factors influenced the decision to dismiss Ladinsky. As Orr testified, he and Minter
discussed “the confusion around . . . why the Walker case had been assigned to Judge Burke as
opposed to not directly to Judge Axon as well as the need for the Walker and Ladinsky teams to --
or a desire among the Walker and Ladinsky teams now to really consolidate their case into one case
as opposed to kind of two parallel tracked cases, you know, that there was significant reasons for
dismissing -- for dismissing the case, irrespective of whether it was before Judge Burke or before
Judge Axon.” Nov. 3, 2022 Hr’g Tr. at 49–50 (Orr).

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Levi and Minter did not consider that to be a viable option. The cases had not been

consolidated, and the State of Alabama could have foreclosed their clients’ voluntary

dismissal option at any time, including before the Monday hearing, simply by filing

an answer.

      In all events, the Panel’s observation that Levi and Minter could have handled

matters differently casts no doubt on their testimony that in fact they had sincere

worries that they had lost for their clients, and would be unable to regain, their ability

to direct the strategy as lead counsel on the first-filed case. Nor does the possibility

of other courses of action suggest that their worries—shared by the other Ladinsky

lawyers as confirmed in their testimony—were so egregiously unreasonable as to

demonstrate that Levi and Minter acted in bad faith.

             4.     Levi and Minter Were Forthcoming About the Reasons for
                    Their Concerns About the Transfer to Judge Burke.

      For all the reasons stated above, Levi and Minter respectfully disagree that “it

was misconduct for all counsel . . . to claim ‘that the dismissal was because Judge

Axon did not explain the reassignment of Ladinsky and [the Court] set Walker for a

status conference in Huntsville on April 18.’” Levi Order at 12; Minter Order at 12.

      The Panel Report’s characterization is both inaccurate and incomplete. First,

Levi and Minter never claimed these were the only reasons for the dismissal; as they

have consistently testified, they dismissed in part because the case was transferred

to Judge Burke, whom they understood was not considered be a favorable judge for


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this case.8 Second, the Panel Report’s characterization of the additional factors is

misleadingly incomplete. The dismissal was not just because Judge Axon did not

explain the transfer. As Levi and Minter testified, it was also because of the

perceived irregularity in the transfer of the first-filed case to the judge presiding over

the second-filed case, contrary to usual practice and in the absence of a motion. Levi

Decl. ¶ 19; Minter Decl. ¶ 5; Nov. 4, 2022 Hr’g Tr. at 19 (Levi). Similarly, the

dismissal was not just because Judge Burke set a status conference in Huntsville for

Monday morning. It was also because the status conference made it apparent, to

Levi and Minter, that Ladinsky had lost its status as the lead case. Levi and Minter’s

genuine concerns, to which they testified truthfully, provide no basis for sanctions.

               5.      Levi and Minter Acted in Good Faith in Deciding to File
                       Eknes-Tucker in the Middle District.

       The Panel Report faults the Ladinsky lawyers for claiming that “the decision

about where to file Eknes-Tucker was driven by the identity of the newly selected

plaintiffs,” contending that those claims “are difficult to square [] with the fact that

most of the Eknes-Tucker plaintiffs (i.e., four out of seven) reside in the Northern



8
  The Panel Report notes testimony by Abigail Hoverman that she recalled Melody Eagan stating
“there was zero percent chance” Judge Burke would enjoin the Act. Panel Report at 34. Minter
testified that while he did not recall this specific statement, he recalled the Ladinsky team voicing
concerns about the prospects of the case before Judge Burke. Nov. 3, 2022 Hr’g Tr. at 149–50.
Levi was not asked about Eagan’s alleged statement, and it was unlikely she was on the call in
which the statement was allegedly made, Nov. 4, 2022 Hr’g Tr. at 16, but she likewise candidly
testified that concerns about Judge Burke played a role in the decisions to dismiss Ladinsky and
file Eknes-Tucker.

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District.” Panel Report at 46. This is a straw man. Levi and Minter have both

candidly acknowledged that part of the calculus in filing the new case in the Middle

District was to avoid the issues that had just arisen in the Northern District, including

the risk of the new case being reassigned to and heard by Judge Burke. The Panel

Report itself quoted Minter’s testimony that “they filed in the Middle District

‘because many of our plaintiffs were there and because of our concerns about the

prior departure from the first-filed rule in the Northern District.’” Nov. 3, 2022

Hr’g Tr. at 157–58 (emphasis added); see also Levi. Decl. ¶ 27 (“The reason for this

view [that we should file in the Middle District] related to the concerns that our team

had about the unusual transfer of the Ladinsky case to the judge presiding over the

second-filed case. I thought that filing the new case in the Northern District of

Alabama created a high risk that the case would be reassigned to [Judge Burke].”).

      It was also appropriate—and an indication of good faith, not bad faith—for

Levi and Minter to consider whether their actions would give the appearance of judge

shopping. See, e.g., Mar. 19, 2024 Hr’g Tr. at 46. Levi and Minter were rightly

concerned about how their actions would be perceived—particularly in a high-profile

case, Nov. 4, 2022 Hr’g Tr. at 54 (Levi)—but there is no evidence, and the Panel did

not find, that they believed they were breaking any rules or violating any ethical

obligations. Instead, Levi and Minter thought that Rule 41 permitted both dismissing

and refiling the very same Ladinsky case. E.g., id. at 69 (Levi). In their minds, by



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bringing a case on behalf of new plaintiffs, they were endeavoring to take a wide

berth around even any possible perceived impropriety. Nov. 4, 2022 Hr’g Tr. at 54

(Levi); Nov. 3, 2022 Hr’g Tr. at 164 (Minter). Their testimony to the Panel about

wanting to avoid the appearance of judge-shopping was intended to convey that they

wanted to ensure they were not engaging in impermissible judge-shopping.

       B.      It Was Objectively Reasonable for Levi and Minter to Have
               Believed the Rules Permitted the Dismissal of Ladinsky and the
               Filing of Eknes-Tucker.

       Absent “direct evidence of subjective bad faith,” the bad-faith standard can be

met only “if an attorney’s conduct is so egregious that it could only [have] be[en]

committed in bad faith.” Purchasing Power, 851 F.3d at 1224–25. Levi and Minter’s

conduct falls far short of satisfying this high standard in view of the substantial case

law holding that an attorney has an unconditional right to dismiss and refile, even

when motivated by a goal of obtaining a different judge.9 Three Courts of Appeal

have held that when an attorney dismisses and refiles the same case even for the sole

purpose of getting a new judge, the attorney cannot be sanctioned. In view of this



9
  It also bears emphasis that lawyers permissibly consider judicial assignments in a wide range of
contexts. Every time lawyers consider whether to dismiss based on venue or personal jurisdiction
or instead to waive those objections, lawyers take account of their perception of the assigned judge
relative to the judge they would get in a different venue. The same is true when lawyers consider
whether to remove a case from state court to federal district court, or whether to move to transfer
a case for convenience under 28 U.S.C. § 1404. There is no ethical problem with considering the
judge’s identity in those circumstances—indeed, arguably attorneys must, as part of their duty to
zealously represent their clients, consider this factor as part of their strategic decision-making.
Levi and Minter reasonably and in good faith believed they were similarly permitted to do so in
the circumstances here.

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case law, Levi’s and Minter’s belief that they were acting permissibly was objectively

reasonable—and therefore necessarily not “so egregious” that it could only have been

committed in bad faith. See id. at 1224–25.

               1.     The Plain Text of Rule 41 Authorizes One Unconditional
                      Dismissal and Refiling.

       Federal Rule of Civil Procedure 41(a)(1)(A)(i) provides: “[T]he plaintiff may

dismiss an action without a court order by filing: (i) a notice of dismissal before the

opposing party serves either an answer or a motion for summary judgment.” The

law in the Eleventh Circuit, as elsewhere, is that “Rule 41(a)(1) means precisely

what it says” and grants “an unconditional right to dismiss” “by notice and without

order of the court at any time prior to the defendant’s service of an answer or motion

for summary judgment.” Pilot Freight Carriers, Inc. v. Int’l Bhd. of Teamsters, 506

F.2d 914, 915–16 (5th Cir. 1975) (emphasis added).10 In Pilot Freight, the plaintiff

filed a notice of voluntary dismissal under Rule 41 after the court denied preliminary

relief, and the defendant sought to vacate the dismissal to get the benefit of that

denial. Id. at 915. The district court refused to vacate the dismissal, and the Fifth

Circuit affirmed. Id. at 916; see also Carter v. United States, 547 F.2d 258, 259 (5th

Cir. 1977) (Rule 41 grants “an absolute right to dismiss a lawsuit before the




10
  Pilot Freight Carriers is binding in the Eleventh Circuit. See Bonner v. City of Prichard, Ala.,
661 F.2d 1206, 1209 (11th Cir. 1981) (en banc) (adopting as precedent decisions issued by the
Fifth Circuit before October 1, 1981).

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defendant has filed an answer or summary judgment motion.”). The Eleventh

Circuit has reaffirmed these principles time and time again. See, e.g., Matthews v.

Gaither, 902 F.2d 877, 880 (11th Cir. 1990) (“Rule 41(a)(1)(i) grants a plaintiff an

unconditional right to dismiss his complaint[.]”); Hardnett v. Equifax Info. Servs.,

LLC, No. 21-13195, 2023 WL 2056285, at *1 (11th Cir. Feb. 17, 2023) (“[I]n

interpreting Rule 41(a)(1), we have repeatedly said that the Rule means precisely

what it says.”).

      In addition to conferring an unconditional right to dismiss, the Federal Rules

confer an unconditional right to refile. Rule 41(a)(1) itself clearly contemplates the

refiling of the same case that was voluntarily dismissed by specifying that the

dismissal is “without prejudice” the first time. Fed. R. Civ. P. 41(a)(1)(B). Rule

41(a)(1), subsection B, “Effect,” provides:

             Unless the notice or stipulation states otherwise, the
             dismissal is without prejudice. But if the plaintiff
             previously dismissed any federal- or state-court action
             based on or including the same claim, a notice of dismissal
             operates as an adjudication on the merits.

Id. The first sentence regarding dismissals “without prejudice” contemplates that a

lawsuit may be refiled after a voluntary dismissal. And the second sentence would

be superfluous if it were improper to refile a case even once.

      The Federal Rules’ drafters undoubtedly were aware that lawyers might

dismiss and refile cases in order to litigate before different judges. But instead of



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authorizing judicial investigations into lawyers’ motives for dismissing and refiling,

the drafters chose to address that issue in a different way: by permitting this

dismissal-and-refiling procedure only once. No probing of an attorney’s mental state

is necessary; the first dismissal is without prejudice, regardless of a lawyer’s mental

state or reasons for dismissal, and the second dismissal operates as an adjudication

on the merits, also regardless of a lawyer’s mental state or reasons for dismissal.

The Federal Rules thus solve the dismissal-and-refiling problem by creating a clear

rule: dismissal and refiling is permissible one time only. The Court should not issue

sanctions when the Federal Rules specifically both contemplate the conduct in

question (dismissal and refiling one time only) and provide an express consequence

if the conduct exceeds the permitted scope (barring a second without-prejudice

dismissal and refiling).

             2.     Three Courts of Appeal Have Held that Attorneys May Not
                    be Sanctioned for Dismissing and Refiling.

      Courts of Appeal have been explicit in acknowledging that Rule 41(a)

authorizes dismissal for any reason, including to avoid a judge.

      Second Circuit. The Second Circuit has held that a law firm is “entitled by

law” to dismiss a case within the parameters of Rule 41(a) for any reason —even to

“flee the jurisdiction or the judge.” Wolters Kluwer Fin. Servs., Inc. v. Scivantage,

564 F.3d 110, 115 (2d Cir. 2009) (emphasis added). In Wolters Kluwer, the

plaintiffs’ counsel dismissed a suit filed in the Southern District of New York under


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Rule 41 and refiled the same lawsuit in the District of Massachusetts. Id. at 113.

The district court sanctioned the plaintiffs’ law firm based on its finding that

counsel’s “main purpose” in dismissing “was to judge-shop.” Id. at 114. The

Second Circuit reversed the sanctions, explaining that the plaintiff had “an unfettered

right voluntarily and unilaterally to dismiss” the action, and the “reasons for wanting

to do so [we]re not for [the court] to judge.” Id. at 114–15 (quotation and citation

omitted). Thus, the law firm “was entitled to file a valid Rule 41 notice of voluntary

dismissal for any reason, and the fact that it did so to flee the jurisdiction or the judge

d[id] not make the filing sanctionable.” Id. at 115.

      Fifth Circuit. Similarly, the Fifth Circuit has concluded that “Rule 41(a)(1)

essentially permits forum shopping.” Bechuck v. Home Depot U.S.A., Inc., 814 F.3d

287, 293 (5th Cir. 2016) (emphasis added) (citation omitted). In Bechuck, the

plaintiff voluntarily dismissed all his claims under Rule 41(a)(1) after the district

court expressed extreme skepticism about his case and indicated an intent to dismiss

it with prejudice. Id. at 290. In accepting the voluntary dismissal, the court limited

the plaintiff to refiling, if at all, only before the same judge. Id. at 290–91. The Fifth

Circuit reversed this refiling limitation, explaining that “[i]t is not uncommon for

plaintiffs to use voluntary dismissal to secure their preferred forum.” Id. at 293

(quotation marks omitted). The Fifth Circuit further explained that “by requiring

that a second voluntary dismissal under Rule 41(a)(1) operate as an adjudication on



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the merits, the federal rules already limit a plaintiff’s ability to engage in forum-

shopping.” Id. at 293. In other words, under Rule 41, one dismissal is allowed for

any reason, including to seek a more favorable forum.

      Eighth Circuit. The Eighth Circuit also has held that “[t]he reason for the

dismissal is irrelevant under Rule 41(a)(1).” Adams v. USAA Casualty Ins. Co., 863

F.3d 1069, 1080 (8th Cir. 2017) (emphasis added). In Adams, the district court

sanctioned attorneys for stipulating to the dismissal of a federal suit “for the

allegedly improper purpose of seeking a more favorable forum and avoiding an

adverse decision” concerning a settlement structure. Id. at 1073. The Eighth Circuit

reversed the sanctions order, finding “no violation of Rule 11 or abuse of the judicial

process.” Id. As the Eighth Circuit explained, “Rule 41(a)(1) cases require no

judicial approval or review as a prerequisite to dismissal; in fact, the dismissal is

effective upon filing, with no court action required.” Id. at 1080. Accordingly,

counsel could not be sanctioned for dismissing a case under Rule 41(a)(1), even

where they did so “for the purpose of forum shopping and avoiding an adverse

result.” Id. at 1080–81.

      These cases do not merely authorize the dismissal of the case. They hold that

it is not sanctionable for an attorney to dismiss and refile the very same case for

purposes of obtaining a new judge. In Wolters Kluwer, 564 F.3d at 113, the

plaintiffs’ counsel voluntarily dismissed a case in the Southern District of New York



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and refiled the same lawsuit in the District of Massachusetts. In Adams, 863 F.3d at

1074, the plaintiff voluntarily dismissed a lawsuit in federal court and refiled the

exact same case in state court. And in Bechuck, 814 F.3d at 293, the Fifth Circuit

held that there could be no limitation, restriction, or condition placed upon the

refiling of the very same lawsuit after a voluntary dismissal.

       In light of these precedents and the absence of any contrary precedent in the

Eleventh Circuit, Levi and Minter’s belief that their conduct was expressly permitted

by Rule 41 was objectively reasonable.11

               3.      Neither Rule 41 Nor Any Other Rule Prohibits the Filing of
                       a New Case on Behalf of New Clients.

       If—as the Second, Fifth, and Eighth Circuits have held—it is not sanctionable

to refile the same case, it surely cannot be sanctionable for attorneys to file a new

case for different clients, as Levi and Minter did here.

       A complaint dismissed voluntarily under Rule 41(a)(1)(A)(i) is a legal nullity

that cannot impact any subsequent filings. As the Fifth Circuit explained in Bechuck:

“The effect of a Rule 41(a)(1) dismissal is to put the plaintiff in a legal position as if


11
  Counsel for Levi and Minter have located no authority to suggest that Rule 41 applies to parties
but not their lawyers. To the contrary, there would be an irreconcilable problem if the federal rules
expressly permitted a party to do something that his lawyer would be sanctioned for doing. See,
e.g., Bechuck, 814 F.3d at 292–94 (reversing sanctions against law firm where it followed Rule
41(a) on behalf of its client). This approach would require the lawyer to choose between acting in
the best interests of their client in dismissing a case and fulfilling their own personal interest in
avoiding personal sanctions—an impermissible conflict of interest. See, e.g., Ala. R. Prof’l
Conduct 1.7(b) (prohibiting the representation of a client that is “materially limited . . . by the
lawyer’s own interests”).

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he had never brought the first suit.” 814 F.3d at 293 (quotation marks omitted). The

court continued: “By placing him back into the situation as though he had never

brought suit, Rule 41(a)(1)(A)(i) necessarily allows him to choose his forum anew.”

Id. Thus, after the dismissal, the Ladinsky plaintiffs (and their lawyers) had a clean

slate and an unhampered ability to file suit anew. That legal nullity certainly cannot

impact subsequent filings by different individuals who each had their own interest

in challenging the Act.

      A finding that the Ladinsky dismissal precluded the Eknes-Tucker plaintiffs

from filing a new lawsuit would be contrary to controlling law. In Taylor v. Sturgell,

a plaintiff, Greg Herrick, filed a lawsuit in Wyoming federal court to challenge the

denial of a FOIA request, and lost. 553 U.S. 880, 885–86 (2008). Harrick’s friend,

Brent Taylor, then hired Harrick’s lawyer to file a lawsuit challenging the denial of

a FOIA request for the same records, this time in federal court in the District of

Columbia. Id. at 889. The D.C. Circuit held the first suit precluded the second, but

the Supreme Court unanimously reversed. Id. at 885. The Court applied the

principle that “everyone should have his own day in court” and found that preclusion

was not warranted merely based on “identity of interests” or the overlap in counsel.

Id. at 893, 901. Although Taylor addresses preclusion rather than judge-shopping,

Taylor’s teachings are directly relevant. Finding sanctionable conduct in this case

would be tantamount to holding that filing and dismissing Ladinsky precluded Levi



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and Minter from filing suit on behalf of the Eknes-Tucker plaintiffs. Taylor does not

permit such de facto preclusion.

      Without question, any other lawyers—if they were retained by the Eknes-

Tucker plaintiffs—would have been permitted to consider potential judicial

assignments in deciding whether to file in the Middle or Northern Districts. The fact

that Levi and Minter previously dismissed Ladinsky—which was authorized by Rule

41 and rendered that case a legal nullity—should not have subjected their new clients

to unique constraints on their lawyers’ ability to zealously represent them.

      C.     Sanctioning Levi and Minter for “Engaging in . . . Discussions
             About Judges” Would Violate the First Amendment.

      The Individual Orders further allege that “it was misconduct for . . . [Levi and

Minter] to engage in numerous and wide-ranging discussions about how judges were

favorable or unfavorable in the context of whether to dismiss and refile Walker and

Ladinsky.” Minter Order at 11; Levi Order at 111. Imposing sanctions on this basis

would violate the First Amendment.

      To be clear, Levi and Minter do not suggest that potential sanctions based on

their litigation conduct—such as their decision to dismiss and refile their cases—are

subject to a First Amendment defense. But the Panel appeared to suggest that the

respondents’ “numerous and wide-ranging discussions” were independently

sanctionable. Id. The First Amendment prohibits sanctioning such pure speech,

particularly based on the content of the communication, but that is what the Panel


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Report suggests by focusing on the subject matter of views about judges. This sort

of content-based regulation on Levi and Minter’s speech would have to survive strict

scrutiny to comply with the First Amendment. Reed v. Town of Gilbert, Ariz., 576

U.S. 155, 163 (2015) (speech regulation is content based if it “applies to particular

speech because of the topic discussed or the idea or message expressed”).

      The high bar imposed by the strict scrutiny standard is not satisfied here. Levi

and Minter had private discussions between counsel, not the sort of out-of-court,

public discussions related to a pending court case that courts can regulate out of

concerns of “a substantial likelihood of material prejudice” to that proceeding.

Gentile v. State Bar of Nev., 501 U.S. 1030, 1075 (1991) (noting that restrictions on

public discussions are aimed at avoiding “two principal evils” of influencing the trial

outcome and prejudicing the jury venire). The Court cannot impose sanctions to

punish such protected speech.

      D.     Levi and Minter Had No Notice That Their Actions, Which Were
             Consistent with Rule 41, Nevertheless Could Be Sanctionable.

      Sanctions are precluded here for an additional reason: at the time Levi and

Minter decided to dismiss Ladinsky and file Eknes-Tucker, they had no notice that

taking these steps could potentially subject them to sanctions. Rather, the available

authorities set forth above all indicate that it was reasonable for them to believe that

Rule 41 expressly permitted them to do what they did.




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      Eleventh Circuit precedent is clear: attorneys may not be sanctioned if they

were not “on notice”—at the time they acted—“that the courts would condemn the

conduct” in question. Finkelstein, 901 F.2d at 1564 (reversing sanctions where a

lawyer sent a threatening and disruptive letter but had no notice that it would lead to

his suspension from the practice of law). In evaluating whether a lawyer committed

misconduct, this Court must “avoid using the wisdom of hindsight” and instead test

the conduct by “what was reasonable to believe at the time” of the alleged

misconduct. Donaldson v. Clark, 819 F.2d 1551, 1556 (11th Cir. 1987) (reversing

sanctions). Where “[t]here was no clear binding precedent on the issue” at the time

the attorneys made the decision, they cannot be charged with notice that their conduct

was impermissible. Laborers Local 938 Joint Health & Welfare Tr. Fund v. B.R.

Starnes Co. of Fla., 827 F.2d 1454, 1458 (11th Cir. 1987) (reversing sanctions);

accord Duke v. Smith, 141 F.R.D. 348, 349 (S.D. Fla. 1992) (denying motion for

sanctions where a single, “unreported opinion” was insufficient to put counsel on

notice that issues raised in the complaint may have no longer been legally sound).

      Levi and Minter had no notice, at the time they acted, that the Court would

consider their actions potentially sanctionable. To the contrary, for the reasons

discussed above, they had a strong and reasonable basis to believe their conduct was

permissible.




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      BellSouth also provided no reasonable notice that their actions were

potentially improper. In BellSouth, a party intentionally retained an attorney who

was a close relative of a judge to force the judge to recuse himself. 334 F.3d at 943.

The party and lawyers in BellSouth had clear prior notice that their conduct was

prohibited based on multiple judicial opinions highlighting a “history of recusal

concerns in the Northern District,” as well as a specific standing order addressing

the issue and expressly prohibiting their conduct. 334 F.3d at 944–45. No such prior

opinions or orders were present here. In addition, BellSouth did not address or even

mention Rule 41(a)(1)(A)(i) or include any analysis to undermine or call into

question the Eleventh Circuit’s repeated admonition that Rule 41(a)(1) “means

precisely what it says.” Hardnett, 2023 WL 2056285, at *1.

      Cases from other jurisdictions also did not give Levi and Minter notice that

their intended course of action was potentially impermissible. Across the board,

those cases involve conduct starkly different from the single dismissal and refiling

that Rule 41 permits. For instance, in Disability Advocates & Counseling Group,

Inc. v. Betancourt, 379 F. Supp. 2d 1343, 1345 (S.D. Fla. 2005), an attorney filed

“several hundred” cases to take advantage of a split of authority among district court

judges on a question of standing under the ADA, and also failed to disclose an

adverse ruling in the same previously-filed case. Likewise, in In re Fieger, No. 97-

1359, 1999 WL 717991, at *1 (6th Cir. Sept. 10, 1999), the plaintiff’s attorney filed



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thirteen duplicate complaints in the same district and then dismissed all but one

under Rule 41(a)(1)(i) in order to ensure assignment to the judge of his choice. In

Datatern, Inc. v. MicroStrategy, Inc., No. 11-11970, 2018 WL 2694458, at *18 (D.

Mass. June 5, 2018), the plaintiff deliberately filed multiple groups of cases “against

parties as to which it never intended to proceed” in an attempt to secure his preferred

judge. In other cases where sanctions were levied, the party attempted to escape

and/or conceal a prior adverse ruling. E.g., John Akridge Co. v. Travelers Cos., 944

F. Supp. 33, 34 (D.D.C. 1996) (after federal court dismissed case following three

years of litigation, plaintiff filed duplicative suit in state court); Vaqueria Tres

Monjitas, Inc. v. Rivera Cubano, 341 F. Supp. 2d 69, 70–71 (D.P.R. 2004) (after

court denied preliminary injunction, plaintiff dismissed, refiled, and rearranged

plaintiffs’ names on the caption so as to obscure the connection to the prior case with

the adverse ruling).12 None of these out-of-jurisdiction cases gives Levi or Minter

any notice that their actions here could be sanctionable. None holds that filing one

case, dismissing it once within the parameters of Rule 41(a)(1)(A)(i), and filing a

new case is or could be sanctionable. Thus, Levi and Minter did not have notice that




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  Ninth Circuit precedent is not to the contrary. In Hernandez v. City of El Monte, 138 F.3d 393
(9th Cir. 1998), for example, the district court violated a local rule on judge-shopping that lacks
any parallel in the Northern and Middle Districts of Alabama. Id. at 398–99. The district court
dismissed the action based on judge-shopping, but the Ninth Circuit reversed, finding that
dismissal was an abuse of discretion. Id. at 399–400.

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this conduct could be sanctionable.13

III.     The Court Should Decline to Impose Sanctions.

         For all the reasons discussed above, Levi and Minter respectfully assert that

they did not act in bad faith given their sincere and reasonable understanding of the

appliable law at the time they acted. And when the Panel conducted its inquiry, Levi

and Minter were candid and forthcoming. But even if the Court disagrees, imposing

sanctions is discretionary, not mandatory.            Given the circumstances here, the

appropriate outcome would be to decline to impose any sanction.

         The inherent power is to be used with “restraint and discretion” because of its

“very potency.”       Chambers v. NASCO, Inc., 501 U.S. 32, 44 (1991); accord

Thompson v. Merchants Adjustment Servs., Inc., No. 20-cv-1591, 2021 WL2682264,

at *1 (N.D. Ala. Feb. 11, 2021) (Burke, J.). When imposing inherent-authority

sanctions, courts consider the severity of the misconduct (especially whether the

respondent disobeyed a court order) and the objective of deterrence. See, e.g.,

O’Neal v. Allstate Indem. Ins. Co., Inc., 505 F. Supp. 3d 1193, 1202–08 (N.D. Ala.

2020), aff’d, No. 20-14712, 2021 WL 4852222 (11th Cir. Oct. 19, 2021). Extreme

sanctions are improper except where there is a “clear pattern” of “contumacious

conduct” and “lesser sanctions would not suffice.” Warner v. Tinder, Inc., 675 F.


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   Even this Court has acknowledged that there was no clear authority from the Eleventh Circuit
indicating that the conduction in question was prohibited: “I get it that different circuits have
different opinions on this. And I get it that the Eleventh Circuit doesn’t have clear guidance on
this.” Mar. 19, 2024 Hr’g Tr. at 60-61.

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App’x 945, 946 (11th Cir. 2017). No sanctions are warranted where the very

proceedings assessing the attorneys’ actions are “enough of a sanction to curb their

conduct and to serve as a warning to future litigants.” Meunier Carlin & Curfman,

LLC v. Scidera, Inc., 813 F. App’x 368, 375 (11th Cir. 2020); accord Purchasing

Power, 851 F.3d at 1228.

      A.     Cases Involving Judge-Shopping Allegations Demonstrate That
             No Sanctions Are Appropriate Here.

      Cases specific to claimed judge-shopping—both within and outside of the

Eleventh Circuit—counsel in favor of no sanction for Levi and Minter.

      Many courts do not impose sanctions at all even after finding misconduct

relating to alleged judge-shopping, and instead use their inherent authority simply to

transfer the case back to the original judge—which is exactly what ended up

happening to Eknes-Tucker here. For instance, in Barragan v. Clarity Services, Inc.,

No. 2:20-cv-00876, 2021 WL 1226537, at *7 (D. Nev. Mar. 31, 2021), the plaintiffs’

attorneys filed a complaint, drew a particular judge, filed several additional

complaints a few days later, and then dismissed all but one case. The court found

this to be improper and noted that compounding factors included “the plaintiffs’

failure to follow this court’s local rules for managing related or similar cases” and

the fact that, when confronted with the judge-shopping concern, the attorneys

refused to stipulate to the transfer of the case back. Id. at *8. Still, the court did not

impose sanctions; rather, to “curb future abuses” and “mitigate any benefit that may


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have been achieved by this outwardly improper maneuvering,” it simply transferred

the action back to the original judge. Id. at *9; see also Murray v. Sevier, No. 92-

1073, 1992 WL 75212, at *2 (D. Kan. Mar. 13, 1992) (where the plaintiff filed six

actions and dismissed all but one under Rule 41(a)(1)(i), the court dismissed the

action without prejudice until it could determine whether to reassign the last

remaining case to the first judge selected). In essence, many courts find it sufficient

to eliminate the unfair benefit that the judge-shopper tried to gain.

      Where courts do impose sanctions related to alleged judge-shopping, it is

because there has been underhandedness or deceit or because a lawyer’s actions have

financially burdened an opposing party or counsel, and even then, the sanctions are

usually modest. For instance, in Vaqueria, 341 F. Supp. 2d at 71–72, where the

plaintiff acted underhandedly by switching the order of the plaintiffs’ names to

conceal the refiling of a case, the court transferred the case back to the original judge

and imposed sanctions of $1,000 per attorney. Id. at 73–74; see also Datatern, 2018

WL 2694458, at *17–19 (where plaintiff filed multiple suits against various

defendants that it never had any intention of pursuing, the court ordered the plaintiff

to pay the portion of the defendant’s attorneys’ fees that were “reasonably related to

plaintiff’s judge-shopping activities”); John Akridge Co., 944 F. Supp. at 34 (same,

where plaintiff filed a new suit in Maryland state court after the federal district court




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for the District of D.C. dismissed a nearly identical suit following three years of

litigation).

       Levi and Minter’s conduct in this case is nothing like the misconduct in that

line of cases, reinforcing that no sanction is warranted here. First, Levi and Minter

did not act with any dishonesty or craftiness. They recommended one voluntary

dismissal consistent with Rule 41, announced their intention to bring a new lawsuit

challenging the Act, and then did so. Second, Eknes-Tucker is proceeding before this

Court. Third, the opposing party, the State of Alabama, was not required to expend

any resources or otherwise bear any financial burden due to those actions. Thus, even

if the Court were inclined to compensate the opposing party for time spent, see

Datatern, 2018 WL 2694458, at *17–19, there would be nothing to compensate here.

       B.      Levi and Minter Did Not Disobey a Court Order, the Key Concern
               That Can Justify Inherent-Power Sanctions.

       Other cases not specific to judge-shopping likewise demonstrate that no

sanction is warranted here. This is because the primary concern addressed through

inherent authority sanctions is not present here—i.e., there was no disobedience of

a court order for which sanctions are required to vindicate court authority.

       In Purchasing Power, the defendant conducted an inadequate investigation

into facts relevant to jurisdiction, “set forth questionable assertions” regarding its

citizenship, and ultimately, falsely represented to the court that jurisdiction existed.

851 F.3d at 1225–28. In reviewing the imposition of inherent power sanctions, the


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Eleventh Circuit held that the proper analysis asks whether there was disobedience

of court orders and a resultant need to vindicate judicial authority. Id. at 1225. The

Eleventh Circuit held that, despite the “colossal waste of time and effort” caused by

the misrepresentations, the key concern of disobedience was absent and therefore

sanctions were unwarranted. Id. at 1228. The court further noted that “the damage

done to the parties’ credibility, finances, and time [wa]s enough of a sanction to curb

their conduct and to serve as a warning.” Id.

      The same occurred in Meunier Carlin & Curfman, LLC. There again, the

Eleventh Circuit reviewed inherent power sanctions imposed by the district court for

the plaintiff’s misrepresentation to the court. It observed that “[n]othing here smacks

of fraud on the court or disobedience to its orders.” 813 F. App’x at 376. What’s

more, the record did not reflect that the plaintiff knew his argument was frivolous or

sought to harass the other party. Id. Applying the Purchasing Power analysis, the

court noted that the attorney had “already paid a price for” his conduct and concluded

that the harm to his “credibility, finances, and time is enough of a sanction to curb

[his] conduct and to serve as a warning to future litigants.” Id. (internal quotation

marks omitted). Accordingly, the Eleventh Circuit reversed the sanctions.

      Levi and Minter did not disobey any court order at any time, and they have

cooperated with and been forthcoming during these proceedings. They also have

been impacted by this proceeding and the Panel’s inquiry. Under the analysis



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required by Purchasing Power and Meunier, sanctions are inappropriate.

       C.     Other Factors Weigh in Favor of Declining to Impose Any Sanction.

       The Alabama Standards for Imposing Lawyer Discipline, adopted in Rule

83.1(g) of this District’s Local Rules, also demonstrate that no sanction should be

imposed. Those standards identify mitigating factors that a court determining

whether to impose sanctions should consider. Id. at Standard 3.0.14 Those mitigating

factors all favor Levi and Minter and no sanction:

      “Absence of Prior Disciplinary Record.” Both Levi and Minter have

       pristine disciplinary records and have never been subject to any kind of

       sanctions proceeding previously. Ex. 1, Levi Aff. ¶ 10; Ex. 2, Minter Aff. ¶ 5.

      “Absence of Dishonest or Selfish Motive.” Levi and Minter acted out of

       concern for their clients, vulnerable children and their parents, and a desire to

       help them make decisions that would best protect their interests in an

       extremely stressful and high-stakes situation. Their conduct was not driven

       by a dishonest or selfish motive.

      “Full and Free Disclosure to [the Tribunal] or Cooperative Attitude

       Toward Proceedings.” From the outset of this inquiry, Levi and Minter have

       been cooperative and transparent. Minter voluntarily subjected himself to and



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   Ala. Standards for Imposing Lawyer Discipline, available at https://judicial.alabama.gov/
library/RulesBarStd.

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      participated in the proceedings even though (a) he had never appeared in

      Ladinsky or Eknes-Tucker, (b) he is not admitted in Alabama or the federal

      district courts of Alabama, and (c) he was not otherwise subject to the Court’s

      jurisdiction. Further, Levi and Minter have consistently acknowledged that

      one of the factors driving their decisions was views about Judge Burke.

    “Character or Reputation.”           Levi and Minter have committed their

      professional careers to improving the lives of their clients. They have each

      spent more than three decades fighting for vulnerable individuals and families.

      Ex. 1, Levi Aff. ¶¶ 5–6; Ex. 2, Minter Aff. ¶¶ 2–3. They have won important

      victories establishing civil rights protections, all on a pro bono basis.

    “Imposition of Other Penalties or Discipline.” Levi and Minter have great

      respect for the authority of the Court and place great value on their professional

      integrity. They have now undergone almost two years of a proceeding that has

      cast a cloud over their professional lives and threatened to tarnish their

      reputations.

    “Remorse.” Levi and Minter are remorseful for doing anything that would

      raise questions or concerns or cause this Court to question their actions. They

      sincerely regret the resulting burden on this Court, the Panel, and the judicial

      system in Alabama.

In light of these mitigating factors, no sanction is warranted.


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                                  CONCLUSION

      For the foregoing reasons, Levi and Minter respectfully submit that they did

not act in bad faith in dismissing Ladinsky and filing Eknes-Tucker, that they have

been truthful and candid, and that, as a result, sanctions are not warranted.

Respectfully submitted this 13th day of May, 2024.


                                        s/ April A. Otterberg                   _
                                        April A. Otterberg, pro hac vice
                                        aotterberg@jenner.com
                                        Adam G. Unikowsky, pro hac vice
                                        aunikowsky@jenner.com
                                        JENNER & BLOCK LLP
                                        353 North Clark Street
                                        Chicago, IL 60654
                                        (312) 222-9350

                                        Robert D. Segall
                                        Shannon L. Holliday
                                        COPELAND, FRANCO, SCREWS & GILL, P.A.
                                        444 South Perry Street
                                        Post Office Box 347
                                        Montgomery, Alabama 36101-0347
                                        Phone: (334) 834-1180
                                        Fax: (334) 834-3172
                                        Email: segall@copelandfranco.com

                                        Attorneys for Jennifer L. Levi
                                        and Shannon Minter




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                         CERTIFICATE OF SERVICE

       I certify that on May 13, 2024, I filed the foregoing electronically with the
Clerk of Court using the CM/ECF system, which will automatically serve all counsel
of record.

                                             /s/ April A. Otterberg_________
